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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Marian Alsaber
                                Plaintiff,
v.                                                 Case No.: 1:17−cv−04499
                                                   Honorable Robert W. Gettleman
Comenity Capital Bank
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 22, 2018:


        MINUTE entry before the Honorable Robert W. Gettleman: On stipulation and
pursuant to Federal Rule of Civil Procedure 41, this action is dismissed with prejudice.
Each party shall bear its own costs and attorney fees. Status hearing set for 6/12/2018 is
stricken. Civil case terminated. Mailed notice (cn)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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